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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION

                                                 CASE NO.:

   DEVONA STEVENSON, an Individual

             Plaintiff,
   v.                                                                      COMPLAINT

   CITY OF SUNRISE, a municipality,

             Defendant.

                                                 Introduction

            Plaintiff, DEVONA STEVENSON, (“Stevenson”) sues Defendant, CITY OF SUNRISE,

  (“Sunrise”) for race and sex discrimination and retaliation in its employment practices, which

  deprived Stevenson of supplemental income, and subjected her to disparate treatment.


                                           Jurisdiction and Parties


        1. This is an action for damages. Stevenson brings this lawsuit for discrimination and

  retaliation pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq.; and

  the Florida Civil Rights Act of 1992, Fla. Stat. §760.10, et seq. (FCRA).

        2. Plaintiff is a natural person, sui juris, who is a resident of the State of Florida and resides in

  Miami-Dade County, Florida.

        3. Defendant, CITY OF SUNRISE is a municipality incorporated in the State of Florida.

        4. At all times material hereto, Stevenson was an “aggrieved person” as defined by the FCRA,

  Fla. Stat. § 760.02 (10).
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      5. Sunrise employs more than 15 employees and is Stevenson’s employer within the meaning

  of FCRA, Fla. Stat. § 760.02(7); and Civil Rights Act of 1964, 42 U.S.C §2000e (b).

      6. At all times during her employment relationship with Defendants, Stevenson was

  Defendants’ “employee” as defined by FCRA, Fla. Stat. § 760.02 et seq.; and Civil Rights Act of

  1964, 42 U.S.C. §§ 2000e (f).

      7. This Court has jurisdiction pursuant to 28 U.S.C. §1331, 28 U.S.C.§1332, 28 U.S.C.

  §1343(3) and (4) and 28 U.S.C. §1367(a) and 29 U.S.C. §216 (b). The jurisdiction of the Court

  is further invoked to secure protection for and to redress the deprivation of rights protected by

  Title VII, 42 U.S.C. §1983 and the FCRA.

      8. Venue is proper under 28 U.S.C. § 1391(b) because all of the discriminatory acts

  complained by Stevenson occurred within this judicial district and because Sunrise is located within

  this judicial district.

      9. All conditions precedent have been satisfied, waived or excused before the filing of the

  instant lawsuit.

                                         General Allegations


      10. Plaintiff, DEVONA STEVENSON, is a black female, and one of three black female police

  officers with the CITY OF SUNRISE.

      11. Stevenson has worked as a police officer for Sunrise for 20 years.

      12. Since her hiring, Stevenson has noticed that she was treated differently than her white male

  and white female counterparts.




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     13. Over the last 20 years, Stevenson has been subjected to higher scrutiny, disciplined more

  frequently and harsher, and passed over for opportunities due to her race and gender.

     14. In 2016 and 2017, this ongoing treatment culminated in a hostile environment.

     15. In November 2016, Stevenson applied to be a Field Training Officer (FTO), a ranking that

  would make her eligible for additional pay each time she trained a new police recruit.

     16. Stevenson completed the requisite training course and obtained a perfect score on the

  qualification exam.

     17. Despite obtaining her certificate of completion, Stevenson was never assigned any trainees.

     18. Instead each of the other FTOs, all white males, were assigned trainees, and a white female

  officer who was not an FTO was assigned a trainee as well.

     19. When Stevenson asked her supervisor why she was not being treated the same, she was

  advised it was because her traffic stop quota was low, a completely unrelated and entirely

  pretextual reason.

     20. Nevertheless, she twice requested the assistance of a radar gun to help raise her traffic stop

  quota, but was never issued one, in order to further the pretextual excuse for not assigning her a

  trainee.

     21. In May 2017, Stevenson advised Sunrise that a vendor who had complained about her was

  doing so for discriminatory reasons, singling out only her and the other black female officer on the

  assignment.

     22. In July 2017, Stevenson requested her employer to investigate the discrimination but

  instead they placed a disciplinary memo in her file.


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     23. Sunrise refused to investigate Stevenson’s allegations and instead removed her from the

  assignment, depriving her of supplemental income.

     24. In August 2017, after several complaints of harassment, Stevenson received a

  “satisfactory” evaluation which was lowered than her previous above-average performance.

     25. On September 19, 2017, Stevenson was called into a meeting by her white male

  supervisors to falsely accuse her of leaving work without permission, and although it was cleared

  up that she had not left, she was loudly and aggressively reprimanded about taking bathroom

  breaks.

     26. Stevenson was absurdly told that, going forward, she would have to announce all of her

  bathroom breaks over the radio, and she was also required to provide a doctor’s note to Human

  Resources to justify her using the bathroom throughout the day during her menstrual cycle.

     27. No other officer was required to announce their bathroom breaks or procure a doctor’s

  note for same.

     28. Stevenson advised that she felt that she was being singled out due to her race and gender,

  at which point her supervisor began to physically hover over her, berating her in a threatening

  manner, while she was seated.

     29. Stevenson reported the incident to Human Resources and that she felt the reasons for her

  being singled out were due to her being a black female; her complaint was ignored.

     30. On November 14, 2017, a white female officer refused a dispatch call and told Stevenson’s

  supervisor that Stevenson should take the call, at which point Stevenson’s supervisor announced




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  over the radio that he was reassigning the call to Stevenson in order to embarrass her in front of

  the other officers, and demonstrating his preferential treatment for the white female officer.

     31. Stevenson was again reprimanded without investigation and her supervisor claimed that

  her fellow officers felt she was not pulling her weight, whereupon she again expressed her concerns

  that she was being singled out due to her race and gender.

     32. On November 16, 2017, Stevenson was asked during a staff briefing if there was anything

  she wanted to discuss.

     33. Stevenson asked the other officers if they felt she was not pulling her weight to which all

  but the one white female officer (who had refused the call) stated no. Stevenson began a

  discussion with the officer but was aggressively interrupted by her supervisor.

     34. Stevenson attempted to remove herself from the hostile situation by walking outside of the

  door, and her supervisor began to threaten her with formal discipline.

     35. The hostile environment and the threats caused her to have a panic attack which

  necessitated her having Fire and Rescue take her to the hospital.

     36. In retaliation, Stevenson’s supervisor drafted a report and had her issued a Fitness for Duty

  suspension.

     37. The actions of Stevenson’s supervisors and the refusal of Human Resources to address the

  issues constituted discrimination, harassment and retaliation based on Stevenson’s race and

  gender.

     38. As a result of the discrimination and retaliation Sunrise perpetuated through the actions of

  its supervisors, Stevenson has suffered emotional and financial damage.


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                                       Count I – Race Discrimination
                         (In Violation of Title VII of the Civil Rights Act of 1964)

      39. Plaintiff incorporates and realleges paragraphs 1 through 38 as though fully set forth

  herein.

      40. From November 2016 to present, Plaintiff has experienced discrimination as she is the only

  FTO not to be assigned any trainees.

      41. Plaintiff was qualified for the FTO position and because of her race, she was kept from

  receiving the benefits of the position.

      42. In September 2017, Plaintiff again experienced discrimination by Defendant when she was

  singled out for taking bathroom breaks, required to report her breaks, and required to procure a

  doctor’s note explaining her need for bathroom breaks during her menstrual cycle.

      43. Plaintiff was singled out solely because she is a black female. Plaintiff’s race was a

  motivating factor in the defendant’s unlawful treatment.

      44. Plaintiff was treated differently than others who were not black, with regards to her

  compensation, terms, conditions, and privileges of employment.

      45. Defendant’s treatment of Plaintiff was unlawful discrimination in violation of 42 U.S.C.

  2000e-2.

      46. As a direct and proximate result of the foregoing, Plaintiff suffered and continues to suffer

  severe emotional and financial damages.

      47. As a result of Defendant’s actions, Plaintiff was forced to retain the undersigned counsel

  to file this action.



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     WHEREFORE, Plaintiff respectfully requests that this Court:

             a. Assume jurisdiction of this cause of action and the parties;

             b. Issue a judgment declaring and finding that Defendant’s actions, practices and
                procedures as stated above constitute discrimination in violation of Plaintiff’s rights
                as secured by Title VII of the Civil Rights Act of 1964, as amended; and,

             c. Order Defendants to make Plaintiff whole, as she was adversely affected by the
                activities described herein, by providing lost wages, compensatory damages,
                punitive damages, prejudgment interest, and any other damages allowed in action
                under Title VII of the Civil Rights Act of 1964, as amended; and,

             d. Enter an award and judgment for attorney’s fees and costs, and all other further
                relief that this Court deems necessary and proper.


                                     Count II – Race Discrimination
              (In Violation of Fla. Civ. Rights Act of 1992 Fla. Stat. § 760.01, et seq.)

     48. Plaintiff incorporates and realleges paragraphs 1 through 38 as though fully set forth

  herein.

     49. From November 2016 to present, Plaintiff has experienced discrimination as she is the only

  FTO not to be assigned any trainees.

     50. Plaintiff was qualified for the FTO position and was only prevented from receiving the

  benefits of the position because of her gender.

     51. In September 2017, Plaintiff again experienced discrimination by Defendant when she was

  singled out for taking bathroom breaks, required to report her breaks, and required to procure a

  doctor’s note explaining her need for bathroom breaks during her menstrual cycle.

     52. Plaintiff was singled out solely because she is a black female.

     53. Plaintiff was treated differently than others who were not black, with regards to her

  compensation, terms, conditions, and privileges of employment.
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      54. Defendant’s treatment of Plaintiff was unlawful discrimination in violation of Fla. Stat. §

  760.01, et seq.

      55. As a direct and proximate result of the foregoing, Plaintiff suffered and continues to suffer

  severe emotional and financial damages.

      56. As a result of Defendant’s actions, Plaintiff was forced to retain the undersigned counsel

  to file this action.

      WHEREFORE, Plaintiff respectfully requests that this Court:

              a. Assume jurisdiction of this cause of action and the parties;

              b. Issue a judgment declaring and finding that Defendants’ actions, practices and
                 procedures as stated above constitute race discrimination in violation of Plaintiff’s
                 rights as secured by The Florida Civil Rights Act, Fla. Stat. § 760.01, et seq.;

              c. Order Defendants to make Plaintiff whole, as she was adversely affected by the
                 activities described herein, by providing appropriate lost wages, back pay,
                 compensatory damages, mental anguish, loss of dignity and punitive damages
                 pursuant to Fla. Civ. Rights Act 1992, Fla. Stat. § 760.01, et seq.

              d. Enter an award and judgment for attorney’s fees and costs, and all other further
                 relief that this Court deems necessary and proper.


                                        Count III – Race Retaliation
                         (In Violation of Title VII of the Civil Rights Act of 1964)

      57. Plaintiff incorporates and realleges paragraphs 1 through 38 as though fully set forth

  herein.

      58. Plaintiff engaged in statutorily protected activity as she complained to her superiors about

  the unfair treatment she received regarding promotions, pay structure, and unfavorable job

  assignments because of her race.


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     59. Plaintiff suffered an adverse employment action when she was harassed, passed over for

  FTO assignments and suspended for voicing her complaints. After her complaints, Plaintiff’s

  received lowered performance evaluations in retaliation of her protected activity.

     60. Defendant willfully violated Title VII or acted with reckless disregard for whether their

  actions were prohibited.

     61. As a direct and proximate result of Defendant’s intentional violations, Plaintiff has suffered

  damages.

     WHEREFORE, Plaintiff respectfully requests that this Court:

                    a. Assume jurisdiction of this cause of action and the parties;

                    b. Issue a judgment declaring and finding that Defendant’s actions, practices
                       and procedures as stated above constitute retaliation in violation of
                       Plaintiff’s rights as secured by Title VII of the Civil Rights Act of 1964, as
                       amended; and,

                    c. Order Defendant to make Plaintiff whole, as she was adversely affected by
                       the activities described herein, by providing lost wages, compensatory
                       damages, punitive damages, prejudgment interest, and any other damages
                       allowed in action under Title VII of the Civil Rights Act of 1964, as
                       amended; and,

                    d. Enter an award and judgment for attorney’s fees and costs, and all other
                       further relief that this Court deems necessary and proper.


                                          Count IV – Race Retaliation
                  (In Violation of Fla. Civ. Rights Act of 1992 Fla. Stat. § 760.01, et seq.)

     62. Plaintiff incorporates and realleges paragraphs 1 through 38 as though fully set forth

  herein.




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      63. Plaintiff engaged in statutorily protected activity as she complained to her superiors about

   the unfair treatment she received regarding promotions, pay structure, and unfavorable job

   assignments because of her race.

      64. Plaintiff suffered an adverse employment action when she was harassed, passed over for

   FTO assignments and suspended for voicing her complaints.

      65. Defendant’s actions were a willful violation of Fla. Stat. § 760.01, et seq.

      66. As a direct and proximate result of Defendant’s intentional violations, Plaintiff has suffered

   damages.

      WHEREFORE, Plaintiff respectfully requests that this Court:

              e. Assume jurisdiction of this cause of action and the parties;

              f. Issue a judgment declaring and finding that Defendants’ actions, practices and
                 procedures as stated above constitute race discrimination in violation of Plaintiff’s
                 rights as secured by The Florida Civil Rights Act, Fla. Stat. § 760.01, et seq.;

              g. Order Defendants to make Plaintiff whole, as she was adversely affected by the
                 activities described herein, by providing appropriate lost wages, back pay,
                 compensatory damages, mental anguish, loss of dignity and punitive damages
                 pursuant to Fla. Civ. Rights Act 1992, Fla. Stat. § 760.01, et seq.

              h. Enter an award and judgment for attorney’s fees and costs, and all other further
                 relief that this Court deems necessary and proper.


                                     Count V – Sex Discrimination
                       (In Violation of Title VII of the Civil Rights Act of 1964)

      67. Plaintiff incorporates and realleges paragraphs 1 through 38 as though fully set forth

   herein.




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       68. From November 2016 to present, Plaintiff has experienced discrimination as she is the only

   FTO not to be assigned any trainees.

       69. Plaintiff was qualified for the FTO position and was only prevented from receiving the

   benefits of the position because of her gender.

       70. In September 2017, Plaintiff again experienced discrimination by Defendant when she was

   singled out for taking bathroom breaks, required to report her breaks, and required to procure a

   doctor’s note explaining her need for bathroom breaks during her menstrual cycle.

       71. Plaintiff was singled out solely because she is a black female. Plaintiff’s sex was a

   motivating factor for Defendant’s unlawful practices.

       72. Plaintiff was treated differently than others who were not female, with regards to her

   compensation, terms, conditions, and privileges of employment.

       73. Defendant’s treatment of Plaintiff was unlawful discrimination in violation of 42 U.S.C.

   2000e-2.

       74. As a direct and proximate result of the foregoing, Plaintiff suffered and continues to suffer

   severe emotional and financial damages.

       75. As a result of Defendant’s actions, Plaintiff was forced to retain the undersigned counsel

   to file this action.

       WHEREFORE, Plaintiff respectfully requests that this Court:

                a.        Assume jurisdiction of this cause of action and the parties;

                b.        Issue a judgment declaring and finding that Defendant’ actions, practices and
                          procedures as stated above constitute discrimination in violation of Plaintiff’s
                          rights as secured by Title VII of the Civil Rights Act of 1964, as amended; and,


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               c.    Order Defendants to make Plaintiff whole, as she was adversely affected by the
                     activities described herein, by providing lost wages, compensatory damages,
                     punitive damages, prejudgment interest, and any other damages allowed in
                     action under Title VII of the Civil Rights Act of 1964, as amended; and,

               d.    Enter an award and judgment for attorney’s fees and costs, and all other further
                     relief that this Court deems necessary and proper.


                                      Count VI – Sex Discrimination
               (In Violation of Fla. Civ. Rights Act of 1992 Fla. Stat. § 760.01, et seq.)

      76. Plaintiff incorporates and realleges paragraphs 1 through 38 as though fully set forth

   herein.

      77. From November 2016 to present, Plaintiff has experienced discrimination as she is the only

   FTO not to be assigned any trainees.

      78. Plaintiff was qualified for the FTO position and was only prevented from receiving the

   benefits of the position because of her gender.

      79. In September 2017, Plaintiff again experienced discrimination by Defendant when she was

   singled out for taking bathroom breaks, required to report her breaks, and required to procure a

   doctor’s note explaining her need for bathroom breaks during her menstrual cycle.

      80. Plaintiff was singled out solely because she is a black female.

      81. Plaintiff was treated differently than others who were not female, with regards to her

   compensation, terms, conditions, and privileges of employment.

      82. Defendant’s treatment of Plaintiff was unlawful discrimination in violation of Fla. Stat. §

   760.01, et seq.




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       83. As a direct and proximate result of the foregoing, Plaintiff suffered and continues to

   suffer severe emotional and financial damages.

       84. As a result of Defendant’s actions, Plaintiff was forced to retain the undersigned counsel

   to file this action.

       WHEREFORE, Plaintiff respectfully requests that this Court:

               i. Assume jurisdiction of this cause of action and the parties;

               j. Issue a judgment declaring and finding that Defendants’ actions, practices and
                  procedures as stated above constitute race discrimination in violation of Plaintiff’s
                  rights as secured by The Florida Civil Rights Act, Fla. Stat. § 760.01, et seq.;

               k. Order Defendants to make Plaintiff whole, as she was adversely affected by the
                  activities described herein, by providing appropriate lost wages, back pay,
                  compensatory damages, mental anguish, loss of dignity and punitive damages
                  pursuant to Fla. Civ. Rights Act 1992, Fla. Stat. § 760.01, et seq.

               l. Enter an award and judgment for attorney’s fees and costs, and all other further
                  relief that this Court deems necessary and proper.


                                         Count VII – Sex Retaliation
                          (In Violation of Title VII of the Civil Rights Act of 1964)

       85. Plaintiff incorporates and realleges paragraphs 1 through 38 as though fully set forth

   herein.

       86. Plaintiff engaged in statutorily protected activity as she complained to her superiors about

   the unfair treatment she received regarding promotions, pay structure, and unfavorable job

   assignments because of her gender.

       87. Plaintiff suffered an adverse employment action when she was harassed, passed over for

   FTO assignments and suspended for voicing her complaints.


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      88. Defendant willfully violated Title VII or acted with reckless disregard for whether their

   actions were prohibited.

      89. As a direct and proximate result of Defendant’s intentional violations, Plaintiff has suffered

   damages.

      WHEREFORE, Plaintiff respectfully requests that this Court:

              e.       Assume jurisdiction of this cause of action and the parties;

              f.       Issue a judgment declaring and finding that Defendant’s actions, practices and
                       procedures as stated above constitute retaliation in violation of Plaintiff’s rights
                       as secured by Title VII of the Civil Rights Act of 1964, as amended; and,

              g.       Order Defendant to make Plaintiff whole, as she was adversely affected by the
                       activities described herein, by providing lost wages, compensatory damages,
                       punitive damages, prejudgment interest, and any other damages allowed in action
                       under Title VII of the Civil Rights Act of 1964, as amended; and,

              h.       Enter an award and judgment for attorney’s fees and costs, and all other further
                       relief that this Court deems necessary and proper.


                                           Count VIII – Sex Retaliation
                   (In Violation of Fla. Civ. Rights Act of 1992 Fla. Stat. § 760.01, et seq.)

      90. Plaintiff incorporates and realleges paragraphs 1 through 38 as though fully set forth

   herein.

      91. Plaintiff engaged in statutorily protected activity as she complained to her superiors about

   the unfair treatment she received regarding promotions, pay structure, and unfavorable job

   assignments because of her gender.

      92. Plaintiff suffered an adverse employment action when she was harassed, passed over for

   FTO assignments and suspended for voicing her complaints.


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       93. Plaintiff complained to her superiors at Defendant’s workplace about the unfair treatment

   she received regarding promotions, pay structure, and unfavorable job assignments given to her

   because of her gender.

       94. Defendant’s treatment of Plaintiff was unlawful discrimination in violation of Fla. Stat. §

   760.10.

       95. As a direct and proximate result of Defendant’s intentional violations, Plaintiff has

   suffered damages.

       96.     As a result of Defendant’s actions, Plaintiff was forced to retain the undersigned counsel

   to file this action.

       WHEREFORE, Plaintiff respectfully requests that this Court:

                a. Assume jurisdiction of this cause of action and the parties;

                b. Issue a judgment declaring and finding that Defendant’s actions, practices and
                   procedures as stated above constitute race discrimination in violation of Plaintiff’s
                   rights as secured by The Florida Civil Rights Act, Fla. Stat. § 760.01, et seq.;

                c. Order Defendants to make Plaintiff whole, as she was adversely affected by the
                   activities described herein, by providing appropriate lost wages, back pay,
                   compensatory damages, mental anguish, loss of dignity and punitive damages
                   pursuant to Fla. Civ. Rights Act 1992, Fla. Stat. § 760.01, et seq.

                d. Enter an award and judgment for attorney’s fees and costs, and all other further
                   relief that this Court deems necessary and proper.


                                       DEMAND FOR JURY TRIAL

             Plaintiff DEVONA STEVENSON hereby demands a jury trial as to all issues triable by a

   jury.



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        Respectfully submitted on this 9th day of October 2018.


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